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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


    JOHN B. WILKINSON,
                                                      CASE NO. 19-cv-10292
                 Plaintiff,

          v.                                          JUDGE _______

    RELIAS LLC,
                                                      MAGISTRATE JUDGE _______
                 Defendant.


                                    NOTICE OF REMOVAL

         Defendant, Relias LLC (“Relias” or “Defendant”), improperly named as RELIAS, LLC,

pursuant to 28 U.S.C. §§ 1441 and 1446, files this Notice of Removal of the civil action entitled

John B. Wilkinson v. Relias LLC, bearing Case No. 2019-4530, from the Civil District Court for

the Parish of Orleans, State of Louisiana, to the United States District Court for the Eastern District

of Louisiana.

         This action may be removed because the Court has diversity of citizenship jurisdiction

pursuant to 28 U.S.C. § 1332(a)(1). In support of this Notice of Removal, Relias respectfully

represents the following:

                              I.    PROCEDURAL BACKGROUND

         1.     On April 30, 2019, Plaintiff John B. Wilkinson (“Plaintiff”) filed a civil action

entitled John B. Wilkinson v. Relias LLC in the Civil District Court for the Parish of Orleans, State

of Louisiana, bearing Case No. 2019-4530 (the “State Court Action”). See Exhibit 1, Plaintiff’s

Rule for Judgment Against Defendant for Unpaid Wages (“Rule for Judgment”).1


1
 This action was filed as a summary proceeding. “The Fifth Circuit has held that the summary
nature of a state court proceeding does not preclude that suit from ‘being a “suit at common law
or in equity” for federal jurisdictional purposes.’” Villenurve v. New River Shopping Ctr., LLC,
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         2.    Relias was served with a copy of the Rule for Judgment through its registered agent,

CT Corporation, on May 3, 2019. See Exhibit 2, Transmittal from CT Corporation to Relias.

Removal is timely because the Notice of Removal has been filed within thirty days of Relias’

receiving the initial pleading. 28 U.S.C. § 1446(b)(1).

         3.    All defendants who have been properly joined and served have consented to the

removal of this action pursuant to 28 U.S.C. § 1446(b)(2)(A).

         4.    Pursuant to 28 U.S.C. § 1441(a), venue is proper in this Court because it is the

district and division embracing Orleans Parish, the parish in which the State Court Action was

instituted.

         5.    Pursuant to 28 U.S.C. § 1446(d), a notice with a copy of this Notice of Removal is

also being filed with the Clerk of Court for the Civil District Court for the Parish of Orleans, State

of Louisiana, and served upon the Plaintiff on the same day this Notice of Removal is filed.

         6.    Pursuant to 28 U.S.C. § 1446(a) and Eastern District of Louisiana Local Rule 3.2,

the following documents also are attached to this Notice of Removal: Exhibit 3: A copy of the

docket sheet in the State Court Action; Exhibit 4: An index of all documents being filed in

connection with this removal; and Exhibit 5: A list of all remaining parties.

                                 II.    BASIS FOR REMOVAL

         7.    Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a)(1),

1441(a), and 1446. This is a civil action between citizens of different states, and based on the




2017 U.S. Dist. LEXIS 184384, at *13 (M.D. La. Sep. 13, 2017), adopted 2017 U.S. Dist. LEXIS
184300 (M.D. La. Nov. 6, 2017) (quoting Weems v. McCloud, 619 F.2d 1081, 1088 (5th Cir.
1980)). Courts in this Circuit thus have refused to remand summary proceedings under the
Louisiana Wage Penalty Statute where diversity jurisdiction is present. See, e.g., id. at *13–15;
McDowell v. Perkinelmer Las, Inc., 369 F. Supp. 2d 839 (M.D. La. 2005).
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allegations in Plaintiff’s Rule for Judgment, the amount in controversy exceeds the sum of

$75,000, exclusive of interests and costs. See Ex. 1, Rule of Judgment, ¶¶ 17, 23.

A.       The Parties are of Diverse Citizenship.

         8.     Plaintiff is, and was at the time the State Court Action was filed, domiciled in

Louisiana. See Ex. 1, Rule of Judgment, ¶ 1(a).

         9.     Relias LLC is, and was at the time the State Court Action was filed, a citizen of

Delaware and New York. Relias LLC is a limited liability company; thus, its citizenship for

purposes of diversity jurisdiction is the citizenship of its members. See Harvey v. Grey Wolf

Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). The sole member of Relias LLC is Bertelsmann

Learning LLC. The sole member of Bertelsmann Learning LLC is Bertelsmann, Inc. Bertelsmann,

Inc. a citizen of Delaware and New York. Bertelsmann, Inc. is incorporated under the laws of

Delaware and has its principal place of business in New York.

         10.    Because Plaintiff is a citizen of Louisiana and Relias is a citizen of Delaware and

New York, complete diversity of citizenship exists among the parties.

B.       The Amount in Controversy Exceeds $75,000.

         11.    The amount in controversy requirement is also satisfied because “the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C.

§ 1332(a). Indeed, Plaintiff’s Rule of Judgment alleges that Plaintiff is owed $92,848.44 in alleged

earned wages and penalties in the amount of $63,453.07 See Ex. 1, Rule of Judgment, ¶ 23.

         12.    With the requirements for diversity jurisdiction set forth by 28 U.S.C. § 1332

having been met, this Honorable Court has jurisdiction over this matter.




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                                         CONCLUSION

         14.    Accordingly, all requirements are met for removal under 28 U.S.C. §§ 1332 and

1441. Relias hereby removes this case to this Honorable Court.




                                              Respectfully submitted,

                                              /s. Edward D. Wegmann
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                                              Attorneys for Defendant Relias LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing has been electronically filed in the Court’s

CM/ECF system and has been served by certified mail and email on all counsel of record this 9th

day of May, 2019. A copy has also been filed with the Civil District Court for the Parish of Orleans,

State of Louisiana, on this same date.

                                              /s. Edward D. Wegmann




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